Case 2:25-cr-00024-JAW Documenti1-1_ Filed 01/27/25 Pagelof4 PagelD#: 2

UNITED STATES DISTRICT COURT
DISTRICT OF MAINE

UNITED STATES OF AMERICA
Vv. No. 2:25-mj-00034-KFW

DIAZ-LOPEZ, COAUHTEMOC
ALFREDO

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Scott M. Hanton, Border Patrol Agent of the United States Border Patrol, being

first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. I am a Border Patrol Agent-Intelligence with the United States Border
Patrol (“USBP”), currently assigned to the Houlton Sector Intelligence Unit in Hodgdon,
Maine. I have been an agent with the USBP since November 29, 2010. I completed the
USBP Academy in February of 2011, where I received instruction in constitutional law,
immigration law, criminal law, and federal and civil statutes. I have also received
training in the detection, interdiction, and arrest of narcotics smugglers, alien
smugglers, and aliens illegally present in the United States. In the course of my
employment with USBP, I have been assigned to the Highway 90 and Highway 80
immigration checkpoints in Arizona, where I was the primary agent for multiple
narcotic and human smuggling cases.

2. From March 2020 to August 2022, I was assigned as a Case Agent for the
Tucson Sector Prosecution Unit. I have conducted numerous criminal investigations
involving illicit activity and have gathered and structured evidence and facts pertaining
to administrative and criminal immigration cases. In the course of my duties, I have

taken sworn statements from material witnesses and suspects. I routinely perform
Case 2:25-cr-00024-JAW Documenti1-1 Filed 01/27/25 Page2of4 PagelD#: 3

record checks through various law enforcement databases to establish accuracy of
information as well as to gather facts further relevant to a respective case. I have acted
as a liaison between the United States Attorney’s Office and field agents, and I have
assisted fellow agents in the development of their cases. I am currently assigned
collateral duty as a Houlton Sector Prosecutions Case Manager.

3. I make this affidavit in support of a Criminal Complaint charging DIAZ-
LOPEZ, CUAUHTEMOC ALFREDO, with one count of Illegal Re-Entry of Alien After
Deportation, in violation of Title 8, United States Code, Sections 1326(a). The
information contained in this affidavit is based on my review of reports prepared by
other law enforcement officers and conversations with involved personnel, as well as my
training and experience as a prosecution case agent.

STATEMENT OF PROBABLE CAUSE

4. On January 22, 2025, at approximately 7:43 PM, a Resident Border Patrol
Agent assigned to the Calais Border Patrol Station was contacted by an officer with the
Old Orchard Police Department (OOBPD). The officer stated he had observed a motor
vehicle being operated at nighttime without headlights and conducted a vehicle stop on
a black Ford F350 with Colorado Registration EFV S97. The officer advised the Border
Patrol Agent that the driver did not possess a valid driver's license and spoke very little
English. The Border Patrol Agent arrived at the scene of the traffic stop, located on Saco
Avenue in Old Orchard Beach, Maine, at approximately 8:16 PM.

5. The Border Patrol Agent was advised by the officer that the driver was
going to be issued a citation for operating a motor vehicle without a valid driver’s license
and that the vehicle would be towed away by A-1 Towing out of Old Orchard Beach,

Maine. The Border Patrol Agent then approached the subject, later identified as DIAZ-
Case 2:25-cr-00024-JAW Documenti-1 Filed 01/27/25 Page3of4 PagelD#: 4

LOPEZ, CUAUHTEMOC ALFREDO, and identified himself as a United States Border
Patrol Agent. The Border Patrol Agent asked the subject, in the Spanish Language, his
citizenship and immigration status in the United States. DIAZ-LOPEZ claimed to be a
citizen of Mexico and refused to answer when asked if he had any documentation to
enter or remain in the United States. The Border Patrol Agent was able to confirm the
subject's identity via a facial recognition search in Mobile Query. Record checks
confirmed that DIAZ-LOPEZ had been previously removed from the United States.

6. At approximately 8:30 PM, the Border Patrol Agent detained DIAZ-
LOPEZ and transported him to Two Bridges Regional Jail (TBRJ) in Wiscasset, Maine
for temporary immigration holding. On January 23, 2025, the Border Patrol Agent
drove his service vehicle to TBRJ and transported him to the Area Port of Portland,
Maine for further processing. At the Area Port of Portland, DIAZ-LOPEZ was advised of
his rights in the Spanish language at approximately 10:05 AM. DIAZ-LOPEZ verbally
acknowledged and stated that he understood his rights.

7 In a Sworn Statement, DIAZ-LOPEZ stated that he had been removed

from the United States “about three years ago”.
Case 2:25-cr-00024-JAW Documenti1-1 Filed 01/27/25 Page4of4 PagelD#:5

CONCLUSION

I respectfully submit, based on the facts set forth above, that probable cause
exists to charge DIAZ-LOPEZ, by Criminal Complaint with the offense of Illegal Re-
Entry After Deportation, in violation of Title 8, United States Code, Sections 1326(a),

and I respectfully request that the accompanying Criminal Complaint be issued.

Scott Hanton

Border Patrol Agent
U.S. Border Patrol

Sworn to telephonically and signed
electronically in accordance with the
requirements of Rule 4.1 of the Federal Rules
of Criminal Procedures

Leg

Date: Jan 27 2025 =
ices Signature

City and state: Portland, Maine Karen Frink Wolf... Magistrate Judge
Printed name.and fitle

